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                IN THE UNITED STATES DISTRICT COURT FOR THE
               NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

 In re: Ethiopian Airlines                   )
 Flight ET 302 Crash                         )
                                             )
                                             )
 Mohamed Farrag Mohamed Megali,              )   Lead Case No.:
 Individually and as Special Administrator   )   19-cv-02170
 of the Estate of Abdel Hamid Farrag         )
 Mohamed Megali, Deceased,                   )   Original Case No.:
                                             )   19-cv-05803
 Plaintiff,                                  )
                                             )
 v.                                          )
                                             )
                                             )   District Judge Jorge L. Alonso
 THE BOEING COMPANY, a                       )   Magistrate Judge David Weisman
 corporation, ROCKWELL COLLINS,              )
 INC., a corporation, ROSEMOUNT              )
 AEROSPACE, INC., a corporation,             )
                                             )
 Defendants.                                 )


                               NOTICE OF JOINT MOTION

        PLEASE TAKE NOTICE that Plaintiff, Mohamed Farrag Mohamed Megali, Individually

and as Special Administrator of the Estate of Abdel Hamid Farrag Mohamed Megali, Deceased

(the “Decedent”), by their undersigned counsel, will present the foregoing Joint Motion for

Dismissal of Plaintiff’s Claims with Prejudice and Approval of Minor Settlement before the

Honorable Judge Jorge L. Alonso on Monday, February 1, 2021 at 9:30 a.m., in courtroom 1903.




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Dated: January 26, 2021           Respectfully submitted,

                                      By: /s/ Monica R. Kelly
                                      Manuel von Ribbeck
                                      Monica Ribbeck Kelly
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                                CERTIFICATE OF SERVICE

       The undersigned counsel hereby certify that on January 26, 2021, I served a copy of the

foregoing NOTICE OF JOINT MOTION on all counsel of record, by filing same with the Court

via the ECF system, which will send copies to all counsel of record.

                                             Respectfully submitted,

                                             By: /s/ Monica R. Kelly
                                             Manuel von Ribbeck
                                             Monica Ribbeck Kelly
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